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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION



 UNITED STATES OF AMERICA,
 v.                                            Case No. 4:22-cr-00162-ALM-BD
 EDWARD WALSH VAUGHAN (1)
 HADI AKKAD (2)




  DEFENDANTS' MOTION FOR LEAVE TO MAKE CERTAIN ARGUMENTS
           CONCERNING THE INDICTMENT IN CLOSING

       Defendants Vaughan and Akkad move for leave to make certain arguments

concerning the first superseding indictment (as redacted) in their closings.

                                     BACKGROUND

       The Court instructed the jury in the first trial--and presumably will do so again--that

"[t]he Defendants are not on trial for any act, conduct, or offense not alleged in the First

Superseding Indictment." Doc. 405 at 10; see Fifth Circuit Pattern Jury Instructions

(Criminal Cases), Instruction 1.21 (2024 ed.) (same). This instruction calls on the jury to

determine what "act[s], conduct, or offense[s]" the indictment alleges.

       Early in the first trial, the government asked the Court to bar the defense from

"insinuat[ing] to the jury that [the government is] presenting a theory or presenting a case

that is inconsistent with the Indictment." T. 4/2/25 at 214 (excerpt attached as Exhibit A).
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       The Court responded to the government's request as follows:

              THE COURT: Ms. Brooks, I mean, first of all, the Court has not
       entertained their argument on this. I disagree with their argument. I think the
       Indictment is broad enough.

               The Indictment is the Indictment. So their argument is the Indictment
       restricts to this certain fee. Your argument is the Indictment is broader than
       that. I think you're right, but there is nothing wrong with them making that
       argument. I mean--

              MS. BROOKS: Then we will continue to object as--just as needed
       based on the way it is framed because I think it's a direct attempt to mislead
       the jury--

              THE COURT: Well--

              MS. BROOKS: --as to what the legal requirements are in pleading
       and proving this case.

               THE COURT: I understand, and there may be valid objections based
       on what they decide to--how they do it. But in terms of a factual dispute and
       then asserting that the Indictment doesn't--isn't as broad as you are asserting,
       that's their argument. The jury is going to have the Indictment. They are
       going to be able to read it themselves and determine is it limited to that or
       not. That's not a legal decision for the Court to make; that's a jury decision.

T. 4/2/25 at 214-15.

       During the defense closings (for which we do not have a transcript), the Court

sustained one or more government objections concerning defense arguments about the

scope of the indictment. This motion seeks to clarify the ground rules in advance of closing

arguments in this trial.

                       THE PROPOSED DEFENSE ARGUMENTS

       In keeping with the Fifth Amendment grand jury clause, the jury's role, the Court's

jury instruction, and the Court's colloquy with the qovernment quoted above, the defense


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assumes that either party may (1) call the jury's attention to the jury instruction quoted

above and also (2) call the jury's attention to particular paragraphs in the indictment. In

addition, the defense moves for leave to do the following in its closing arguments:

       1.      Argue that particular portions of the indictment do or do not allege the

"double charge" or ".15/.2% card brand fee" theory on which the government's case now

focuses; and

       2.      Argue that, under the Court's jury instruction, the jury should reject or accept

the "double charge" or ".15/.2% card brand fee" theory based (among other reasons) on

what the indictment alleges.

       The government, of course, is free in its opening and rebuttal arguments to point out

to the jury the portions of the indictment that it contends allege the "double charge" or

".15/.2% card brand fee" theory. But the defense should be allowed to argue the opposite.

As the Court observed, the ultimate determination one way or the other is "a jury decision."

T. 4/2/25 at 215.

       Dated: May 19, 2025.

                                            Respectfully submitted,


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                                 CERTIFICATE OF SERVICE
       I hereby certify this Motion was electronically filed on May 19, 2025, and all counsel
was electronically served via this Court’s Electronic Filing System on the day of filing.

                                            /s/ John D. Cline
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